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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 13-0155CCC
 1) LUIS DIAZ-NATAL, a/k/a “Chencho”
 2) JESUS ACOSTA-MILLET, a/k/a “Lalo”
 3) JUAN PEREZ-MORALES, a/k/a “Charry,”
 “Joker”
 4) JORGE SANCHEZ-PEREZ, a/k/a “Joey”
 5) WILFRIDO COLON-RIVERA,
 a/k/a “Bimbo”, “Balu”
 6) ISMAEL LOPEZ-RIVERA, a/k/a “Machito”
 7) BIENVENIDO CLAS-OTERO,
 a/k/a “Biembe”
 8) ARMANDO JIMENEZ-RAMOS,
 a/k/a “Chory”
 9) ELIUD SERRANO-BARRIOS, a/k/a “Pipo,”
 “Pito”
 10) RAUL MENDEZ-ROMAN, a/k/a “Papelin”
 11) OMAR GONZALEZ-SOTOMAYOR
 12) CHRISTIAN GONZALEZ-SOTOMAYOR,
 a/k/a “Bombi”
 13) ALEXANDER RODRIGUEZ-RENTAS
 14) LUIS MIGUEL CRUZ-DAVILA
 15) ALEXANDER VELEZ-RODRIGUEZ
 16) VICTOR ORTIZ-SANTOS,
 a/k/a “Manuel,” “Crock”
 Defendants


                                            ORDER

       Having considered the Report and Recommendation filed on December 20, 2013
(docket      entry   256)   on   a   Rule    11   proceeding   of     defendant   Christian
González-Sotomayor (12) before U.S. Magistrate Judge Marcos E. López on December 11,
2013, to which no objection has been filed, the same is APPROVED. Accordingly, the plea
of guilty of defendant is accepted. The Court FINDS that his plea was voluntary and
intelligently entered with awareness of his rights and the consequences of pleading guilty
and contains all elements of the offense charged in the indictment.
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CRIMINAL 13-0155CCC                          2

       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since December 11, 2013. The sentencing hearing is set for
March 11, 2014 at 4:30 PM.
       The U.S. Probation Officer is reminded that, should any objections be raised by
defendant to the PreSentence Report, the Addendum to said PreSentence Report must
specifically identify any unresolved objections, the grounds for the objections, and the
U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The
party that raised the unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved objections
be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal
of the unresolved objections.
       SO ORDERED.
       At San Juan, Puerto Rico, on January 8, 2014.



                                          S/CARMEN CONSUELO CEREZO
                                          United States District Judge
